Case 5:09-cr-00162-XR Document 59 Filed 07/28/10 Page 1 of 2

FILED

  

JUL 28 2010
IN THE UNITED STATES DISTRICT COURT | _
FOR THE WESTERN DISTRICT OF TEXAS WES TERY DISTRIGY OP tone
SAN ANTONIO DIVISION BY
UNITED STATES OF AMERICA, _)
)
Plaintiff, )
| )
v. -) CRIMINAL NO. SA-09-CR-162-XR
Ma
HENRY D. SPEARS, )
)
Defendant. )

FINAL JUDGMENT OF FORFEITURE

Came on to be considered the United States of America's Motion for Final Judgment of
Forfeiture, pursuant to the provisions of Fed. R. Crim, P. 32.2(c)(2) and Title 21 U.S.C. §§ 853(n)( 1)
- (n)(7), and this Court being fully and wholly apprised in all its premises, finds that the United
States of America has proven by a preponderance of the evidence a nexus between the below-
described Subject Firearm and the violation of Title I8U.S.C. § 922(g)(1), and that Defendant Henry
D. Spears has an interest in the Subject Firearm. Said Motion is meritorious and should be, and
hereby is, in all things GRANTED. IT IS THEREFORE,

ORDERED that any and all right, title, and interest of Defendant Henry D. Spears in certain
property, namely: |

a Ruger, Model PS9DC, 9mm pistol bearing serial number 304-39999,
hereinafter referred to as the Subject Firearm be, and hereby is, forfeited to the United States of
America; and IT I$ FURTHER

ORDERED that any and all right, title, and interest of Vanda Spears, any and all other

potential petitioners in the Subject Firearm be, and hereby is, held in default and be, and hereby is,
Case 5:09-cr-00162-XR Document 59 Filed 07/28/10 Page 2 of 2

forfeited to the United States of America; and Ir IS FURTHER
ORDERED that the Bureau of Alcohol, Tobacco, Firearms and Explosives and/or its
designated custodian, shall dispose of the Subject Firearm in accordance with law; and IT IS
FURTHER
ORDERED that all terms and provisions contained in this Court's Preliminary Judgment of
‘Forfeiture entered on May 3, 2010 (Doc. 51), in so much as may be applicable and consistent with

this Order, shall remain in full force and effect.

 

 

IT IS SO ORDERED.
SIGNED this_Z¢° Nay of Sly 2010,
XAVIER RODRIGUEZ

UNITED STATES DISTRICT JUDGE
